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                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF ARIZONA

                                            Civil Cover Sheet
  This automated JS-44 conforms generally to manual JS-44 approved by the Judicial
  Conference of the United States in September 1974. The data is required for the use of
  the Clerk of Court for the purpose of initiating the civil docket sheet. The information
  contained herein neither replaces nor supplements the filing and service of pleadings or
  other papers as required by law. This form is authorized for use only in the District of
  Arizona. Instructions

                          I. (a) PLAINTIFFS                                DEFENDANTS
                                 Add New Plaintiff                           Add New Defendant


                         Julie Levitch          Edit Delete         Maricopa County         Edit Delete
            (b) County of Residence of First Listed               County of Residence of First Listed
                           Plaintiff                                         Defendant
                        Maricopa                                         Maricopa

                                            County Where Claim for Relief Arose
                                                     Maricopa

                       (c) Plaintiff's Attorney
                             Add New PLA Attorney
                                                                  Defendant's Attorney (If known)
                                                                            Add New DFT Attorney



                   Check here if you are filing a motion to proceed in forma pauperis


   II. Basis of Jurisdiction
   (Select from drop menu below)
    3. Federal Question (U.S. not a party)

   III. Citizenship of Principal Parties (Diversity cases only)
   PLAINTIFF
    1 Citizen of This State
   DEFENDANT
    4 AZ corp or Principal place of Bus. in AZ

   IV. Origin
   (Select from drop menu below)
    1. Original Proceeding

   V. Nature of Suit (Select one box)
   Contract         Torts                                 Civil Rights              Other Statutes
https://www.azd.uscourts.gov/cvcover.html                                                                 1/3
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      110 Insurance    Personal Injury:            440 Other Civil Rights    375 False Claims Act
      120 Marine           310 Airplane            441 Voting                400 State Reapportionment
      130 Miller Act       315 Airplane                                      410 Antitrust
                                                   442 Employment
      140 Negotiable Product Liability                                       430 Banks & Banking
   Instrument                                      443                       450 Commerce/ICC Rates/ etc
                           320 Assault, Libel &
      150 Recovery of                           Housing/Accommodations       460 Deportation
                       Slander
   Overpayment &                                   445 Amer.                 470 RICO
   Enforcement of          330 Federal
                                                w/Disabilities -             480 Consumer Credit
   Judgment            Employers' Liability     Employment                   485 Telephone Consumer
      151 Medicare Act     340 Marine              446 Amer.              Protection Act
      152 Student Loan     345 Marine Product w/Disabilities - Other         490 Cable/Sat TV
   -non VA             Liability                   448 Education             850
      153 Recovery of      350 Motor Vehicle                              Securities/Commodities/Exchange
   VA Benefits
                           355 Motor Vehicle Prisoner Petitions              880 Defend Trade Secrets Act
      160 Stockholder
                       Product Liability                                     890 Other Statutory Actions
   Suits                                        Habeas Corpus:
                           360 Other Personal                                891 Agricultural Acts
      190 Other                                    463 Alien Detainee
   Contract            Injury                                                893 Environmental Matters
                                                   510 Motions to Vacate     895 Freedom of Information
      195 Contract         362 Med.             Sentence
   Product Liability                                                      Act
                       Malpractice                 530 General
      196 Franchise                                                          896 Arbitration
                           365 Personal Injury     535 Death Penalty         899 Administrative Procedure
                       - Product Liability      Other:                    Act/Review  or Appeal of Agency
   Real Property           367 Health                                     Decision
                                                   540 Mandamus &
      210 Land         Care/Pharmaceutical Other                             950 Constitutionality of State
   Condemnation        Personal Injury Product                            Statute
      220 Foreclosure Liability                    550 Civil Rights
      230 Rent Lease        368 Asbestos           555 Prison Condition Social Security
   & Ejectment          Personal Injury Product    560 Civil Detainee -    861 HIA (1395ff)
      240 Torts to Land Liability               Conditions of              862 Black Lung (923)
      245 Tort Product Personal Property:       Confinement
   Liability                                                               863 DIWC/DIWW (405(g))
                            370 Other Fraud                                864 SSID Title XVI
      290 Other Real
                            371 Truth in                                   865 RSI (405(g))
   Property
                        Lending

   Bankruptcy               380 Other Personal                          Federal Tax Suits
                        Property Damage                                    870 Taxes US Plaintiff or
      422 Appeal 28
   USC 158                  385   Property                              Defendant
      423 Withdrawal    Damage     Product                                 871 IRS Third Party 26 USC
   28 USC 157           Liability                                       7609
                                                         Labor
   Property Rights Immigration                                710 Fair Labor
      820 Copyrights               462 Naturalization    Standards Act
      830 Patent                Application                   720 Labor/Mgmt.
      835 Patent -                 465 Other             Relations
   Abbreviated New              Immigration Actions           740 Railway Labor
   Drug Application                                      Act
      840 Trademark             Forfeiture/Penalty            751 Family and
                                    625 Drug Related     Medical Leave Act
                                Seizure of Property 21        790 Other Labor
                                USC 881                  Litigation
                                    690 Other                 791 E.R.I.S.A.

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   Is this a removal from state court? No
   VI. Cause of Action (CITE THE U. S. STATUTE UNDER WHICH YOU ARE FILING AND WRITE A
   BRIEF STATEMENT OF CAUSE. DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY.)
   42 U.S.C. §1983 et seq civil rights violations

                                          Class Action Under        Demand                 Jury Demand
   VII. Requested in                    FRCP 23                     500,000                (requested in
   Complaint                              Not Class Action                                 Complaint)
                                                                                              Yes No
                                        is related to case number                  , assigned to Judge
   VIII. This Case
                                                         .

  DATE:           08/17/2021                SIGNATURE OF ATTORNEY OF RECORD:
   Daniel Kloberdanz




                                                   Generate JS-44     Reset Form




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